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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District of __________
                                                 __________              Texas

                  United States of America                        )
                             v.                                   )
                   Said Isaac Hernandez
                                                                  )      Case No.
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     7/11/2022                 in the county of                Webb          in the
     Southern          District of            Texas           , the defendant(s) violated:

            Code Section                                                    Offense Description
18 USC 933                                     It shall be unlawful for any person to ship, transport, transfer, cause to be
                                               transported, or otherwise dispose of any firearm to another person in or
                                               otherwise affecting commerce, if such person knows or has reasonable
                                               cause to believe that the use, carrying, or possession of a firearm by the
                                               recipient would constitute a felony as defined in section 932(a) or attempt or
                                               conspire to commit the conduct.
18 USC 554                                     Whoever fraudulently or knowingly exports or sends from the United States,
                                               or attempts to export or send from the United States, any merchandise, DUWLFOH
                                         RUREMHFWFRQWUDU\WRDQ\ODZRUUHJXODWLRQRIWKH86
         This criminal complaint is based on these facts:
See Attachment A




         ✔ Continued on the attached sheet.
         u

                                                                                              /s/ Daniel Mueller
                                                                                             Complainant’s signature

                                                                                       Special Agent Daniel Mueller
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             07/14/2022
                                                                                                Judge’s signature

City and state:                          Laredo, Texas                                       Judge Song Quiroga.
                                                                                              Printed name and title
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                                    ATTACHMENT A

1. I am a Special Agent of the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
   and have been so employed since February 2005. As an ATF Special Agent, I am
   empowered to make arrests, conduct investigations, and execute search and arrest warrants
   relative to Federal Firearm offenses pursuant to Title 18 and Title 26 of the United States
   Code.

2. This affidavit is submitted in support of a criminal complaint against Defendant Said Isaac
   HERNANDEZ (year of birth 1997) for the violations of:
                 18 USC § 933 Trafficking in firearms
                 18 USC § 554 Smuggling Goods from the United States

3. 18 USC § 933. Trafficking in firearms (a) In general It shall be unlawful for any person
   to—(1) ship, transport, transfer, cause to be transported, or otherwise dispose of any
   firearm to another person in or otherwise affecting interstate or foreign commerce, if such
   person knows or has reasonable cause to believe that the use, carrying, or possession of a
   firearm by the recipient would constitute a felony (as defined in section 932(a)); (2) receive
   from another person any firearm in or otherwise affecting interstate or foreign commerce,
   if the recipient knows or has reasonable cause to believe that such receipt would constitute
   a felony; or (3) attempt or conspire to commit the conduct described in paragraph (1) or
   (2).

4. 18 USC 554 Smuggling Goods from the United States – (a)In General.—Whoever
   fraudulently or knowingly exports or sends from the United States, or attempts to export
   or send from the United States, any merchandise, article, or object contrary to any law or
   regulation of the United States, or receives, conceals, buys, sells, or in any manner
   facilitates the transportation, concealment, or sale of such merchandise, article or object,
   prior to exportation, knowing the same to be intended for exportation contrary to any law
   or regulation of the United States, shall be fined under this title, imprisoned not more than
   10 years, or both.

5. The information in this affidavit is based upon my personal observations and credible
   information provided to the me by other witnesses. This affidavit does not necessarily
   contain all the information concerning this investigation that is known to me or to law
   enforcement officers but describes only those relevant facts necessary to establish probable
   cause that Said Isaac HERNANDEZ committed the offense set forth in the Criminal
   Complaint attached hereto.

6. ATF has been conducting an investigation regarding Said Isaac HERNANDEZ purchasing
   a large quantity of firearms in a purchasing pattern that is indicative of firearms trafficking.
   Research showed that in a period of less than one year from 07/22/2021 until 6/26/2022
   HERNANDEZ had purchased at least 176 firearms. All 176 firearms were pistols, all
   were of the caliber of .380, 9mm and .22 caliber and he purchased up to 21 of the same
   model of firearm. Research showed that from 10/13/2021 until 7/8/2022 HERNANDEZ
   crossed the United States border with Mexico in a Nissan Murano bearing Mexico License
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   Plate NZB4676 multiple times. Research showed that this year HERNANDEZ appears to
   have an income of less than $10,000. When purchasing the 176 firearms, an ATF Form
   4473 was completed and signed by HERNANDEZ, and the information provided by
   HERNANDEZ showed that he lived at 10305 Gail Road, Austin, Texas, which in fact he
   did not during that time.

7. When a person purchases a firearm from a lawful gun dealer, aka Federal Firearms
   Licensee (FFL), the FFL must run a background check through the FBI National Instant
   Background Check System (NICS) to see if the person is prohibited from purchasing or
   possessing firearms. In conjunction with certain criminal investigations, ATF can request
   to be notified by the FBI when a person’s information is checked in NICS. This
   investigative technique allows investigators to know that a suspect has purchased or
   attempted to purchase firearms from a particular FFL. This was requested in June of 2022
   regarding Said Isaac HERNANDEZ, and as such, ATF was notified when HERNANDEZ’s
   information was checked through NICS by an FFL, thereby indicating that he was
   purchasing firearms from that dealer.

8. On July 10, 2022, several NICS alerts showed that HERNANDEZ had purchased firearms
   from six different FFL’s who were at a gun show in Waco, Texas. On this same date an
   FFL attending the gun show at Waco, Texas contacted ATF and advised they observed
   HERNANDEZ purchasing many firearms at the Waco Gun Show. The information
   received was that HERNANDEZ was purchasing firearms in the company of another
   person, speaking only Spanish, and they departed in a burnt orange colored Nissan Murano
   bearing Mexican License Plate NZB4676. The identity of HERNANDEZ was verified by
   a purchase from an FFL at the gun show where HERNANDEZ presented his Texas
   Driver’s License.

9. On July 11, 2022, several NICS alerts showed that HERNANDEZ was purchasing firearms
   from FFLs in the Austin, Texas area. ATF made contact with employees at Range USA,
   an FFL in Pflugerville, Texas. Employees at this FFL identified the purchaser as Said
   HERNANDEZ by his drivers license and by a photograph taken the day before in Waco,
   Texas. Range USA provided an ATF Form 4473 that Said HERNANDEZ had completed
   about an hour before where he purchased a Ruger LCP .380 caliber pistol bearing serial
   number 379076451 and a Smith & Wesson M&P Bodyguard, .380 caliber pistol bearing
   serial number KEV2227. This form contained the address of 10305 Gail Road, Austin, TX
   and phone number 512-596-8010 as well as HERNANDEZ’s signature.

10. On July 11, 2022, ATF made contact with employees of Red’s Indoor Range, an FFL in
    Pflugerville, TX. Employees at Red’s FFL identified the purchaser as Said HERNANDEZ
    by his driver’s license and by a photograph taken the day before in Waco, Texas. Red’s
    FFL provided an ATF Form 4473 that Said HERNANDEZ had completed about an hour
    before where he purchased a Kel-Tec P17, .22 caliber pistol bearing serial number GDB12
    and a Smith and Wesson M&P .380 caliber pistol bearing serial number NMA1054. This
    form contained the address of 10305 Gail Road, Austin, TX and phone number 512-596-
    8010 as well as HERNANDEZ’s signature. Employees verified that during the time of this
    purchase, a burnt orange colored Nissan SUV was in the parking lot.
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11. On July 11, 2022, Texas Department of Public Safety conducted a traffic stop on a Nissan
    Murano bearing Mexico License Plate NZB4676 driven by Said HERNANDEZ. During
    the traffic stop a US Border Patrol Agent and his K9 provided backup. During the traffic
    stop an open-air search by the K9 resulted in a positive alert, indicating the presence of
    narcotics or human smuggling or tainted currency. The vehicle was moved to the United
    States Border Patrol Station at Interstate 35 at mile marker 29 to conduct a more thorough
    inspection in a safer environment.

12. At the US Border Patrol Station, a drive through x-ray scan was conducted on the Nissan
    Murano and two anomalies were observed. The anomalies were observed in the same area
    of the vehicle where the indications of tampering were observed at the interior paneling
    behind the back seats and between the exterior sheet metal. An intrusive search was
    conducted and a total of 17 firearms were found secreted behind the panels in an apparent
    attempt to conceal them so they would not be found by law enforcement. The firearms
    were all similar small to medium framed semi-automatic pistols. There were eleven 9mm
    caliber pistols, five .380 caliber pistols, and one .22 caliber pistol.

13. Four of the firearms discovered hidden were identified by serial number as the same
    firearms listed above on the two ATF Form 4473’s from the two purchases made by
    HERNANDEZ earlier on this date.

14. On July 11, 2022, ATF advised HERNANDEZ of his Miranda rights in his preferred
    language of Spanish and interviewed Said HERNANDEZ at the United States Border
    Patrol Station at Interstate 35 at mile marker 29. During the interview Said HERNANDEZ
    advised that he had in fact purchased firearms from several FFL’s in the Austin area.
    HERNANDEZ was shown the two aforementioned ATF Form 4473’s and confirmed that
    he had completed both forms, that he had put the address of 10305 Gail Road, and that his
    signature was on both forms.

15. HERNANDEZ stated that he lives in Mexico and does not have a residence in Texas. He
    stated that when he comes to Texas that he stays with either friends, relatives or in hotels.
    When asked about the address on his driver’s license, 10305 Gail Road, he stated that he
    had not lived in Austin for more than two years.

16. HERNANDEZ stated that he had concealed 15-18 firearms in the vehicle because he did
    not want the police to find them if he was stopped.

17. HERNANDEZ stated that going to Laredo with the firearms and would contact his cousin
    in Mexico with a +52 telephone number and this cousin would coordinate to meet with
    persons at the Plaza to transfer the firearms and HERNANDEZ would expect to be paid at
    that time. He stated that he would receive about $50-$100 profit per firearm and would be
    paid in cash. HERNANDEZ stated he knew that the people he met in Laredo, Texas and
    to whom he sold the firearms to were not able to legally purchase or receive firearms. He
    stated his cousin could not legally enter the United States and that his cousin has been
    previously deported from the United States.
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18. HERNANDEZ stated that he has previously made two deliveries of firearms concealed in
    the same manner described above about a month or two ago; and he delivered 12 firearms
    for $5,000 cash and 15 firearms and for $6,000 cash. HERNANDEZ stated that he was
    certain that the firearms were going to Mexico and the firearms would not remain in
    Laredo, Texas.

19. HERNANDEZ stated he has purchased about 100 firearms in the last five months.

20. An ATF Interstate Nexus Expert has researched the 17 firearms that were seized from the
    Nissan Murano and has determined that all of the firearms seized have traveled in and
    affected interstate and or foreign commerce.
